            Case 1:19-cv-00986 Document 1 Filed 04/09/19 Page 1 of 8



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
____________________________________
                                             )
PUBLIC CITIZEN,                              )
        1600 20th Street NW                  )
        Washington, DC 20009,                )
                                             )
PUBLIC CITIZEN FOUNDATION,                   )
        1600 20th Street NW                  )
        Washington, DC 20009,                )
                                             )
and                                          )
                                             ) Civil Action No. 1:19-cv-986
DAVID HALPERIN,                              )
        c/o Public Citizen                   )
        1600 20th Street NW                  )
        Washington, DC 20009,                )
                                             )
                 Plaintiffs,                 )
                                             )
                 v.                          )
                                             )
ELISABETH DEVOS,                             )
in her official capacity as Secretary of the )
U.S. Department of Education,                )
        Office of the Secretary              )
        400 Maryland Avenue SW               )
        Washington, DC 20202,                )
                                             )
and                                          )
                                             )
UNITED STATES DEPARTMENT OF                  )
EDUCATION,                                   )
        400 Maryland Avenue SW               )
        Washington, DC 20202,                )
                                             )
                 Defendants.                 )
                                             )

            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       1.     This action seeks declaratory and injunctive relief under the First Amendment and

the Administrative Procedure Act (APA) to halt the Department of Education (ED) from blocking
             Case 1:19-cv-00986 Document 1 Filed 04/09/19 Page 2 of 8



users of its network from visiting Public Citizen’s website, in violation of the First Amendment

rights of Public Citizen and users who wish to receive information from Public Citizen.

                                JURISDICTION AND VENUE

       2.      This Court has jurisdiction under 28 U.S.C. § 1331. Venue is proper under 28

U.S.C. § 1391(e) and 5 U.S.C. § 703.

                                            PARTIES

       3.      Plaintiff Public Citizen is a national non-profit public-interest organization founded

in 1971, with members and supporters nationwide. Along with its sister organization, plaintiff

Public Citizen Foundation (hereafter collectively, Public Citizen), Public Citizen represents

consumer interests through lobbying, litigation, administrative advocacy, research, and public

education on a broad range of issues, including consumer rights in the marketplace, financial

regulation, and corporate accountability. Public Citizen also works to promote openness in

government and disseminates on its website (www.citizen.org) information to advance

government accountability. Both Public Citizen and Public Citizen Foundation are “persons”

under the APA, 5 U.S.C. § 551(2).

       4.      Plaintiff David Halperin is a Washington, D.C.-based lawyer who engages in public

advocacy work and writes investigative articles on a wide range of issues, including higher

education issues. He is a member of Public Citizen.

       5.      Defendant Elisabeth DeVos is the United States Secretary of Education and charged

with the supervision and management of all decisions and actions within ED. Plaintiffs sue

Secretary DeVos in her official capacity.

       6.      Defendant ED is an agency of the United States.




                                                 2
             Case 1:19-cv-00986 Document 1 Filed 04/09/19 Page 3 of 8



                                  STATEMENT OF FACTS

       7.      Public Citizen maintains a website at the Uniform Resource Locator (URL)

www.citizen.org. Public Citizen uses its website to disseminate information about its work to the

public. Public Citizen makes its website accessible without limitation to all persons who have a

connection to the Internet.

       8.      The information that Public Citizen disseminates through its website includes

material directly relevant to, and often critical of, ED’s administration of its statutory

responsibilities. For example, in December 2018, Public Citizen released a report on its website

entitled “Rewriting the Teach Grant Rules: Lessons from a History of Mismanagement,” which

provided a critical analysis of grant-to-loan conversions under ED’s TEACH Grant program. The

report found that decisions and errors made by ED in its administration of the program contributed

to the staggering number of teachers whose educational grants have been erroneously converted

to student debt. Available at https://www.citizen.org/system/files/case_documents/teach_

report.pdf. Public Citizen also uses its website to inform the public about litigation that it has

undertaken, including litigation against Secretary Devos and ED. See, e.g., Bauer v. DeVos

Webpage, available at https://www.citizen.org/our-work/litigation/cases/bauer-v-devos.

       9.      Public Citizen also uses its website to communicate information to the public about

the actions of other government agencies, as well as Public Citizen’s views of and responses to

such actions. In many cases, Public Citizen has expressed views on its website that are critical of

actions taken by the current Administration, of which Secretary DeVos is a cabinet member.

       10.     ED operates Wi-Fi networks that it makes available to visitors attending meetings

at its headquarters, located at 400 Maryland Avenue SW, Washington, DC, as well as other ED




                                                3
             Case 1:19-cv-00986 Document 1 Filed 04/09/19 Page 4 of 8



offices, including at 550 12th Street SW, Washington, DC. ED provides a password to allow such

visitors to access the guest Wi-Fi.

       11.     ED’s guest Wi-Fi networks enable users who log on through their smartphones or

other electronic devices to access the Internet. For example, visitors who log on to ED’s Wi-Fi

network can use the network to access ED’s webpage at www.ed.gov on their smartphones or

computers.

       12.     ED also operates an internal network that allows ED personnel to access the Internet

through their work computers or other work devices.

       13.     Public Citizen staff member Patrick Llewellyn attended a meeting at ED’s 550 12th

Street location on February 22, 2019. He logged onto ED’s Wi-Fi network to access the Internet

during that meeting to obtain information relevant to the reasons for his presence at the meeting.

While logged on to the Wi-Fi network, Mr. Llewellyn was able to use ED’s Wi-Fi network to

access numerous websites, including websites of various advocacy groups and trade associations.

       14.     When Mr. Llewellyn attempted to access Public Citizen’s website, he received a

message on his device indicating that access to “URL: www.citizen.org/” is “in violation of your

Internet usage policy.” The message stated that Public Citizen’s URL falls within “Category:

Advocacy Organization.” The following is a copy of the message that Mr. Llewellyn received on

February 22, 2019, when attempting to access Public Citizen’s website while on ED’s Wi-Fi

system:




                                                4
             Case 1:19-cv-00986 Document 1 Filed 04/09/19 Page 5 of 8




       15.     As part of his work, Mr. Halperin regularly visits ED’s offices to attend negotiated

rule-making sessions and public hearings and to meet with ED officials and staff. During those

visits, Mr. Halperin uses ED’s Wi-Fi network to access the Internet to obtain information relevant

to the subjects of those events and meetings. While logged on to the Wi-Fi network, Mr. Halperin

has been able to access numerous websites.

       16.     For approximately the past year, however, Mr. Halperin has been blocked from

accessing Public Citizen’s website on ED’s guest Wi-Fi networks. When attempting to access

Public Citizen’s website while logged onto ED’s Wi-Fi network, he has received messages on his

device indicating that access to “URL: www.citizen.org/” is “in violation of your Internet usage

policy.” The messages stated that Public Citizen’s URL falls within “Category: Advocacy

Organization.” The following is a copy of a message that he received when attempting to access

Public Citizen’s website while on ED’s guest Wi-Fi system on March 25, 2019:




                                                5
             Case 1:19-cv-00986 Document 1 Filed 04/09/19 Page 6 of 8



 m




       17.     On information and belief, users of ED’s internal network similarly cannot access

Public Citizen’s website.

       18.     ED has not publicly stated any reason for blocking users of its Wi-Fi or internal

networks from accessing Public Citizen’s website.

       19.     ED has no legitimate justification for blocking access to Public Citizen’s website.

       20.     ED does not block users of its Wi-Fi and internal networks from accessing the

websites of numerous other organizations that engage in advocacy.

       21.     The website of Public Citizen does not pose any unique or materially heightened

risk of network congestion or other harm to ED’s Wi-Fi or internal networks, as compared to

websites accessible on ED’s networks.

       22.     ED’s action blocking access to Public Citizen’s website burdens Public Citizen’s

speech by making it more difficult for Public Citizen to communicate information to users of ED’s

Wi-Fi and internal networks, including information relevant to the work performed by ED

personnel and that of visitors to ED’s headquarters.

       23.     ED’s action blocking access to Public Citizen’s website burdens the First

Amendment right of visitors attending meetings at ED, including Mr. Halperin and staff of Public

Citizen, to receive information while visiting ED’s headquarters and logged onto ED’s network,

including information relevant to the work performed by ED personnel and that of such visitors.


                                                6
              Case 1:19-cv-00986 Document 1 Filed 04/09/19 Page 7 of 8



       24.     ED’s decision to block access to Public Citizen’s website from ED’s networks is

final agency action under the APA.

                                  FIRST CAUSE OF ACTION
                                      (First Amendment)

       25.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful

unconstitutional action of a federal official or agency.

       26.     Defendants’ action blocking Public Citizen’s website on its guest Wi-Fi and

internal networks violates the First Amendment because it imposes a viewpoint-based and/or

content-based restriction on Public Citizen’s protected speech and because it singles out Public

Citizen for restrictions that do not apply to similarly situated speakers.

       27.     Defendants’ action blocking access to Public Citizen’s website on its guest Wi-Fi

and internal networks violates the First Amendment because it imposes a viewpoint-based and/or

content-based restriction on Plaintiffs’ right to access and read Public Citizen’s speech.

                                 SECOND CAUSE OF ACTION
                                         (APA)

       28.     The APA directs reviewing courts to hold unlawful and set aside agency action

found to be “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.”

5 U.S.C. § 706(2)(A).

       29.     Defendants’ decision to block access to Public Citizen’s website on its Wi-Fi and

internal networks is unsupported by reasoned decisionmaking and fails to consider adequately the

First Amendment interests implicated by its blocking practice.

       30.     Defendants’ decision to block access to Public Citizen’s website on its Wi-Fi and

internal networks is arbitrary, capricious, an abuse of discretion, and contrary to law.”




                                                  7
             Case 1:19-cv-00986 Document 1 Filed 04/09/19 Page 8 of 8



                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs requests that this Court:

       31.     Declare that Defendants’ action blocking users on its guest Wi-Fi network from

accessing Public Citizen’s website is unconstitutional;

       32.     Declare that Defendants’ action in blocking users on its Wi-Fi and internal

networks from accessing Public Citizen’s website violates the APA because it is not supported by

reasoned decisionmaking, arbitrarily treats similarly situated persons differently, and fails to

consider or preserve the important First Amendment principles at stake;

       33.     Enjoin Defendants from blocking access to Public Citizen’s website on its W-Fi

and internal networks;

       34.     Award Plaintiffs their costs, including reasonable attorneys’ fees, pursuant to 28

U.S.C. § 2412; and

       35.     Grant such other and further relief as this Court may deem just and proper.



Dated: April 9, 2019                                Respectfully submitted,


                                                    /s/ Nandan M. Joshi
                                                    Nandan M. Joshi (DC Bar No. 456750)
                                                    Allison M. Zieve (DC Bar No. 424786)
                                                    Scott L. Nelson (DC Bar No. 413548)
                                                    Public Citizen Litigation Group
                                                    1600 20th Street NW
                                                    Washington, DC 20009
                                                    (202) 588-1000




                                                8
                           Case 1:19-cv-00986 Document 1-1 Filed 04/09/19 Page 1 of 2
                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 Public Citizen                                                                 Betsy DeVos, in her official capacity as Secretary of the U.S.
 Public Citizen Foundation                                                      Department of Education;
 David Halperin                                                                 U.S. Department of Education

                                                         11001
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

 Allison M. Zieve (DC Bar No. 424786)
 Nandan M. Joshi (DC Bar No. 456750)
 Scott Nelson (DC Bar No. 413548)
 Public Citizen Litigation Group
 1600 20th Street NW
  II. BASIS OF JURISDICTION
 Washington,      DC 20009                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
      (PLACE AN x IN ONE BOX ONLY)                                  PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
 (202) 588-1000                                                                            PTF    DFT                                                        PTF           DFT
 o     1 U.S. Government    o     3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits                                  462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                         Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                         defendant)                                465 Other Immigration
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                         Actions
      240 Torts to Land                 Prisoner Petitions                                    7609                                      470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                    Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                             625 Drug Related Seizure of
                                                                                              Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                          690 Other                                     850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                     Other Statutes                                     896 Arbitration
      380 Other Personal Property
                                                                                         375 False Claims Act                           899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                               376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                       3729(a))                                       Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                 400 State Reapportionment                      950 Constitutionality of State
                                                Drug Application                         430 Banks & Banking                                Statutes
                                            840 Trademark                                450 Commerce/ICC                               890 Other Statutory Actions
                                                                                             Rates/etc.                                     (if not administrative agency
                                                                                         460 Deportation                                    review or Privacy Act)
                             Case 1:19-cv-00986 Document 1-1 Filed 04/09/19 Page 2 of 2
 o     G. Habeas Corpus/                       o      H. Employment                           o     I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                   o     M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   5 USC 702. Challenge under First Amendment and APA to blocking of Public Citizen's website on government network.

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
                                             ACTION UNDER F.R.C.P. 23                                                            YES               NO
      COMPLAINT                                                                      JURY DEMAND:

 VIII. RELATED CASE(S)                       (See instruction)                                                                   If yes, please complete related case form
                                                                                 YES                    NO
       IF ANY
                4/9/19
 DATE: _________________________                                                                   /s/ Nandan M. Joshi
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
Case 1:19-cv-00986 Document 1-2 Filed 04/09/19 Page 1 of 2




                     District of Columbia




               SUMMONS IN A CIVIL ACTION
    Case 1:19-cv-00986 Document 1-2 Filed 04/09/19 Page 2 of 2




                                PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
Case 1:19-cv-00986 Document 1-3 Filed 04/09/19 Page 1 of 2




                     District of Columbia




               SUMMONS IN A CIVIL ACTION
    Case 1:19-cv-00986 Document 1-3 Filed 04/09/19 Page 2 of 2




                                PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
Case 1:19-cv-00986 Document 1-4 Filed 04/09/19 Page 1 of 2




                     District of Columbia




               SUMMONS IN A CIVIL ACTION
    Case 1:19-cv-00986 Document 1-4 Filed 04/09/19 Page 2 of 2




                                PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
Case 1:19-cv-00986 Document 1-5 Filed 04/09/19 Page 1 of 2




                     District of Columbia




               SUMMONS IN A CIVIL ACTION
    Case 1:19-cv-00986 Document 1-5 Filed 04/09/19 Page 2 of 2




                                PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
